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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
GERALD GEORGE ef al, )
)
Plaintiffs, ) No. 07-1713
) Magistrate Judge Sidney I, Schenkier
VS. )
)
KRAFT FOODS GLOBAL, INC,, ef ai., )
)
Defendants. )

MEMORANDUM OPINION AND ORDER'
Plaintiffs, individually and as representatives of a class, filed this action on behalf of the
Kraft Foods Global Inc. Thrift Plan, Plan No. 125 (the “Plan”), alleging that defendants breached
their fiduciary duties in operating and administering the Plan in violation of the Employee

Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001, ef seg. Plaintiffs sought to

_Tecover alleged losses suffered by the Plan and to obtain injunctive and other equitable reliefbased

upon the alleged breaches (Compl. 10). After a class was certified, George v. Krafi Foods Global,
Inc., 251 F.R.D. 338, 353 (N.D. TIL, 2008), and discovery was completed, this Court granted
defendants summary judgment on all claims in the case. George v. Kraft Foods Global, Inc., 07 C
1713, 2010 WL 331695 (N.D. Ill. Jan. 27, 2010).

Having prevailed, defendants now have filed a bill of costs (doc. #265). Defendants argue

that pursuant to Fed.R.Civ.P. 54(d)(1) and 28 U.S.C. § 1920, they are entitled to recover $211,785.25

 

'On May 30, 2007, by consent of all parties and pursuant to 28 U.S.C. § 636(c), the case was reassigned to
this Court for all proceedings, including entry of final judgment (doc, ## 57, 68).
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in costs attributable to court reporter charges and costs of duplication (Defs,’ Bill of Costs, Ex. A).
Plaintiffs attack the reasonableness of these costs, but at the threshold raise an issue that challenges
defendants’ entitlement to any costs whatsoever: whether recovery of costs in this case is governed
by ERISA, 29 U.S.C, § 1132(g)(1), rather than by Rule 54(d)(1). For the reasons that follow, we
conclude that defendants’ request for costs must be addressed under Section 1132(g)(1). We further
conclude that applying the discretion afforded by Section 1132(g)(1), plaintiffs should not be
compelled to pay defendants’ costs.
1.

Rule 54(d)(1) states that “[ujnless a federal statute... provides otherwise, costs — other than
attorney’s fees — should be allowed to the prevailing party.” This rule creates a “presumption
[favoring the award of costs that] is difficult to overcome.” Weeks v. Samsung Heavy Indus. Co.,
Ltd., 126 F.3d 926, 945 (7th Cir. 1997). A court’s discretion to deny costs under Rule 54(d)(1) is
“narrowly confined,” and generally is triggered only by misconduct of the prevailing party or the
losing party’s inability to pay. Jd.

By contrast, Section 1132(g){1) states that in an ERISA action brought “by a participant,
beneficiary or fiduciary, the court in its discretion may allow a reasonable attorney’s fee and costs
of action to either party” (emphasis added). Whereas Rule 54(d)(1) gives a prevailing party a virtual
entitlement to costs, which a trial judge may deny only in extremely limited circumstances, Section
1132(g)(1) makes the award of costs highly discretionary — so much so that the denial of attorneys’
fees or costs to prevailing defendants in ERISA cases “would rarely constitute an abuse of
discretion.” Nichol vy. Pullman Standard, Inc., 889 F.2d 115, 121 (7th Cir. 1989) (quoting

Marquardt v. North American Car Corp., 652 ¥.2d 715, 717 (7th Cir. 1981)).

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It is evident that Section 1132(g)(1) creates a different standard than Rule 54(d)(1) for
deciding whether to award costs. It is equally evident that Section 1132(g)(1) supplants
Rule 54(d)(1) as the standard governing whether to award costs to a prevailing party in ERISA
lawsuits. Rule 54(d)(1) governs the award of costs except when costs are provided for in another
federal statute, and the Seventh Circuit has squarely held that Section 1132(g)(1) is just “such an
express provision.” Nichol, 889 F.2d at 121. More recently, in Brieger v. Tellabs, Inc., 652 F.
Supp.2d 925, 926 (N.D. Ill. 2009), Judge Kennelly concluded ~ after a thorough analysis of Nichol
and other relevant case law — that defendants’ contention in that case that Section 1132(g)(1) does
not govern the award of costs in ERISA litigation “is contrary to the plain language of both Section
1132(g)(1) and Rule 54(d)(1).”

We find Judge Kennelly’s analysis persuasive and faithful to Nichol, and we follow it here.
In so doing, we have considered, but must reject, defendant’s arguments that Rule 54(d)(1) should
govern our consideration of their petition for costs (Defs.’ Reply at 2-3).

First, defendants argue that the Seventh Circuit has adopted a “bifurcated approach” to
Section 1132(g)(1), applying it when a prevailing party seeks attorneys’ fees and costs but not when
the prevailing party seeks only an award of costs in ERISA litigation (Defs.’ Reply at 2). That
argument was made, and rejected by the court, in Brieger, 652 F, Supp.2d at 927 — and we reject
it here as well. Defendants cite no Seventh Circuit case endorsing a “bifurcated approach.” Nor do
we find anything in the Seventh Circuit’s analysis in Nichol suggesting that in an ERISA suit, a
petition for costs and attorneys’ fees is governed by Section 1132(g)(1), buta petition for costs alone

is governed by Rule 54(d)(1). Section 1132(g)(1) is no less an “express provision” governing costs,
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which trumps Rule 54(d)(1), when it is used as a basis to seek attorneys’ fees and costs than when
it is used to support a stand-alone request for costs.

Second, defendants argue that Nicho/ is no longer applicable because the language of
Rule 54(d)(1) has since been amended (Defs.’ Reply at 2 n.1). Defendants do not explain how any
change in the language of Rule 54(d){1) would implicate the continuing vitality of Nichol. In any
event, defendants’ argument is untenable in the face of the commentary to the amendments to Rule
54(d)(1), which explain that the language changes were not substantive but were “intended to be
stylistic only.” Fed. R. Civ. P.54, Advisory Committee’s Notes to 2007 Amendments. We therefore
agree with Judge Kennelly that the change in the language of 54(d) is irrelevant. Brieger, 652 F,
Supp.2d at 927.

Third, defendants suggest that Nichol no longer is good law because two subsequent
Seventh Circuit decisions — Hecker vy, Deere & Co,, 556 F.3d 575 (7th Cir, 2009), and Quinn v. Blue
Cross and Blue Shield Ass'n, 161 F.3d 472 (7th Cir, 1998) — “have affirmed cost awards under
Rule 54 in ERISA cases” (Defs.’ Reply at 2-3 n.1), Defendants’ citation to Quinn is a nonstarter:
while the trial judge in Quinn awarded costs under Rule 54(d)(1), 161 F.3d at 475, the
Seventh Circuit reviewed that decision pursuant to Section 1132(g)(1). fd at 478-79.

As for Hecker, defendants correctly note that the trial judge awarded costs in that case under
Rule 54(d)(1), and the Seventh Circuit affirmed that award of costs without referring to
Section 1132(g)(1)— or, for that matter, Rule 54{d)(1). Hecker 556 F.3d at 591. The fact that the
Seventh Circuit in Hecker did not discuss Section 1132(g)(1) or Nichol no doubt ts the result of the
failure of the parties to raise on appeal the issue of whether Section 1132(g)(1), rather than

Rule 54(d)(1), should govern. See Brieger, 652 F. Supp.2d at 927 and n.3. As Judge Kennelly
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observed, nothing in Hecker “overturns” the holding in Nichol or even addresses the implications
of Section 1132(g), Jd at 927. We likewise will not presume that Hecker represents a stealth
overruling of Nichol. And, even if we considered Hecker to be at odds with Nichol (which we do
not}, that would not give us license to disregard the clear precedent established in Nichol.
“(P]recedents of a higher court that have ‘direct application in a case’ remain binding, even where
subsequent rulings by the higher court could be read to be inconsistent with some of the reasoning
in the case that has direct application.” Brieger, 652 F. Supp.2d at 927 (quoting Heidelberg v Ill.
Prisoner Review Bd., 163 F.3d 1025, 1026 n.1 (7th Cir. 1998)).

We therefore hold that defendants’ petition for costs must be reviewed under
Section 1132(g)(1). We now turn to a discussion of the principles under Section 1132({g)(1) that
govern our consideration of defendants’ petition for costs, and why we conclude that, when applying
those principles, defendants are not entitled to costs.

il.

The Seventh Circuit has articulated two standards for considering a petition for costs under
Section 1132(g)(1). One standard employs a five-factor test, Nichol, 889 F.2d at 121 and n.9, which
considers “concepts such as culpability, equity, and the merits [of| the parties’ positions.” Brieger,
652 F. Supp.2d at 928. The Seventh Circuit has explained that this standard “is oriented toward the
case where the plaintiff rather than the defendant prevails and seeks an award of attorneys’ fees.”
Nichol, 889 F.2d at 121 (quoting Bittner v. Sadoff & Rudoy Industries, 728 F.2d 820, 829 (7th Cir.
1984)). In cases where the defendant is the prevailing party, the Seventh Circuit has articulated a

different standard that considers whether “the losers’ position, while rejected by the Court, had a
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solid basis — more than merely not frivolous, but less than meritorious.” Bittner, 728 F.3d at 830;
see also Nichol, 889 F.2d at 121; Brieger, 652 F. Supp.2d at 928.

Despite there different formulations, each test is directed to the same goal: “to award costs
and fees to the prevailing party where there is reason to believe that the losing party engaged in
litigation merely to harass its opponent.” Nichol, 889 F.2d at 122. As aresult, the tests can be used
“interchangeably,” Brieger, 624 F, Supp.2d at 928, since it is “difficult to imagine a situation in
which the application of one test rather than the other would alter our decision concerning the
propriety of an award of costs or fees.” Nichol, 889 F.2d at 121. Since we are dealing with a request
for costs by prevailing defendants, we will apply here the Bittner “solid basis” formulation that is
geared to that situation. Applying that standard, we conclude that defendants are not entitled to
recover costs.

Defendants do not argue — and could not reasonably argue — that plaintiffs’ lawsuit was
frivolous. Plaintiffs filed this lawsuit in 2007. Defendants did not seek to dismiss the suit on the
ground that it failed to state a claim for relief or suffered from any other legal deficiency. Plaintiffs
successfully prosecuted a motion for a class certification. Although plaintiffs’ claims ultimately
failed, they did so only after extensive discovery, equally extensive summary judgment briefing and
a 42-page Memorandum Opinion and Order.

Defendants argue that their complete summary judgment victory is a significant factor in
deciding whether plaintiffs had a solid basis for their lawsuit (Defs.’ Reply at 4), We agree that

survival of a motion for summary judgment is particularly strong evidence that a lawsuit had a solid
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basis. See, e.g., Nichol, 889 F.2d at 121; Brieger, 652 F. Supp.2d at 928. However, we do not
accept defendants’ premise that any case that fails to survive summary judgment must invariably
have lacked a solid basis. Were that the case, costs always would be awarded to a party that
prevailed on summary judgment. We do not think the broad discretionary judgment about whether
to award costs to prevailing defendants can be properly exercised by reference to such a bright line
standard. Here, the Court’s review of the summary judgment papers and the analysis it employed
in granting defendants’ summary judgment leads us to conclude that the case as a whole, while
ultimately not meritorious, had a solid enough basis that an award of costs would be unwarranted.

We find further support for this conclusion when we consider the overarching goal to be
achieved by application of the “solid basis” test: to make sure that a prevailing party is able to
recover costs where there is reason to believe that the losing party engaged in litigation merely to
harass its opponent. Nichol, 889 F.2d at 122. Defendants do not argue that plaintiffs engaged in this
litigation as a strike suit or as a means of mere harassment. Indeed, as demonstrated by the amount
of costs that defendants seek here (nearly $212,000.00), this lawsuit was likely an expensive
proposition for both sides. Both sides engaged in extensive document discovery; both sides engaged
in extensive deposition practice; and both sides retained multiple paid experts. We find it unlikely
that plaintiffs would have shouldered the substantial economic burden that this lawsuit no doubt

imposed “merely to harass” defendants.
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CONCLUSION
For the foregoing reasons, the Court denies defendants’ bill of costs (doc. # 265). Because
we deny costs on the ground that defendants are not entitled to recover any costs pursuant to
Section 1132(g}(1), we express no view as the reasonableness of the specific items of costs that
defendants have sought.

ENTER:

     

 

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SIDNEY I. SCHENKIER
United States Magistrate Judge

Dated: May 14, 2010
